
48 So. 3d 99 (2010)
Robert BUHRMAN, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-553.
District Court of Appeal of Florida, Fourth District.
November 3, 2010.
Rehearing Denied December 22, 2010.
Robert Buhrman, Jasper, pro se.
No appearance required for appellee.
PER CURIAM.
Affirmed. See Ilkanic v. City of Fort Lauderdale, 705 So. 2d 1371 (Fla.1998); Cruz v. State, 742 So. 2d 489 (Fla. 3d DCA 1999).
GROSS, C.J., DAMOORGIAN and GERBER, JJ., concur.
